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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
Santos Hernandez, Emanuel De Jesus Lievano and
Miguel Antonio Vasquez
                                            Plaintiffs, Case No. 20-cv-4026(JMA)(SIL)

                          -against-                           ORDER TO SHOW CAUSE

Rosso Uptown Ltd., Michael Tizzano and Massimo
Gammella,

                                                 Defendants



       Upon the declaration of Steven John Moser, sworn to on July 1, 2021 and the exhibits

annexed thereto, it is

       ORDERED, that ROSSO UPTOWN, LD. show cause before this Court, at Courtroom

920, United States Courthouse, 100 Federal Plaza, Central Islip, New York 11722, on
 May 18, 2022
_________________________,     1:00 pm o’clock , as counsel may
                           at ____

be heard, why an order should not be issued pursuant to Rule 55(a) of the Federal Rules of Civil

Procedure, directing the Clerk to enter a default against the Defendant ROSSO UPTOWN,

LTD. for its failure to otherwise defend this action.

       IT IS FURTHER ORDERED that Plaintiffs’ counsel shall serve a copy of this order,

together with the papers upon which it is granted, upon the Defendants Rosso Utown, Ltd.,

Michael Tizzano, and Massimo Gammella, via federal express overnight delivery on or before

____________________________ to the following addresses of record:

                         Massimo Gammella
                         24 Manorhaven Blvd.
                         Port Washington, NY 11050 +

                         Michael Tizzano
                         44 Sitsink Drive East, Apt. E
                         Port Washington, NY 11050
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                         Rosso Uptown, Ltd.
                         664 Flanders Drive
                         Valley Stream, New York 11581

   and that such service be deemed good and sufficient service.

                                                       SO ORDERED:

Date: March 30, 2022
      Central Islip, New York                            /s/      _________

                                                    Joan M. Azrack
                                                    United States District Judge
